/\g@`/

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 1 of 16 Page|D 1

FH..E

UNITED STATES DISTRICT COURT

MIDDLE DlSTRICT OF FLORIDA 2{}][, J,"`!’ 16 nn H n
" .*..~‘"f ,: /_3

TAMPA nlvlsloN
r'§if~:;!`¢~!;;z 5~':`"7-‘”'~`"9`{ liquor
THOMAS coPE, 7 _T_:p_;»_;:~,; 1;;';¢_ 521
an individual, ' _-..,~._\.\
Case No.
Plaimiff,

V.
ocwEN LoAN SERVICING, LLC, %‘~ l "\' °\/\\ 9 i lot ‘i`§> "'\

a foreign limited liability company,
OCWEN FINANCIAL CORPORATION,
a Florida for-proflt corporation, and
ALTISOURCE SOLUTIONS, INC.,

a foreign for~proflt corporation,

Defendants.
/

VERIFIED COMPLAINT
COMES NOW, Plaintiff, THOMAS COPE (hereinai’ter, “Plaintiff”), by and
through the undersigned counsel, and sues Defendants, OCWEN LOAN SERVICING,
LLC (hereinaher, “OLS”), OCWEN FINANCIAL CORPORATION (hereinaRer,
“OFC”), and AL'I`ISOURCE SOLUTIONS, INC. (hereinaher, “ASI”), (hereinaiier,
collectively, “Defendants”), and alleges:
PRELIMINARY STATEMENT
This is an action for damages brought by an individual consumer for Defendants’
violations of the Florida Consumer Collection Practices Act, Chapter 559, Florida
Statutes (hereinaher, the “FCCPA”), and the Telephone Consumer Protection Act, 47
U.S.C., Section 227 et seq. (hereinafter, the “TCPA”).
JURISDICTION AND VENUE
l. 'I`his is an action for damages that exceeds $15,000.00 exclusive of`

attorneys’ fees and costs.

~7\
q/\“? D(OG
§

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 2 of 16 Page|D 2

2. Jurisdiction for purposes of this action is proper as a Federal Question
conferred by 28 U.S.C., Section 1331. Furthermore, because of the diversity of
citizenship between the parties, jurisdiction is conferred by 28 U.S.C., Section 1331 as
well. Supplemental jurisdiction over the FCCPA claims is conferred by 28 U.S.C.,
Section 1367. Venue for purposes of this action is conferred by 28 U.S.C., Section 1391.

3. At all material times herein, the conduct of Defendants, complained of
below, occurred in Pinellas County, Florida.

4. At all times herein, Plaintiff is an individual residing in Pinellas County,
Florida.

5. Defendant OLS is a foreign limited liability company existing under the
laws of the State of Delaware with a principal address of 1661 Worthington Road, Ste
100, West Palm Beach, Florida 33409. OLS is a wholly-owned subsidiary of Defendant
OFC. Defendant OLS itself and through its subsidiaries, regularly attempts to collect
debts owed another.

6. Defendant OFC is a Florida for-profit corporation with a principal address
of 2002 Summit Boulevard, 6'h Floor, Atlanta, Georgia 20219. OFC is the parent
company of Defendant OLS. Defendant OFC, itself and through its subsidiaries,
regularly attempts to collect debts owed another.

7. Defendant ASI is a foreign for-profit corporation existing under the laws
of the State of Delaware with a principal address of 2002 Summit Boulevard, Suite 600,
Atlanta, Georgia 30319. Defendant ASI, itself and through it subsidiaries, regularly

attempts to collect debts owed another.

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 3 of 16 Page|D 3

MLAU-E_(M

9. At all times herein, Defendants OLS, OFC, and ASI were “debt
collectors” as defined by Florida Statutes, Section 559.55(6).

10. At all times herein, Defendants attempt to collect a debt, specifically a
deficiency on a residential GMAC mortgage note referenced by account number ending -
8438 (hereinafter, “the Debt”).

ll. At all times herein, the Debt was a consumer debt, incurred primarily for
personal, household or family use.

12. At all times herein, Defendants were “persons” as defined by the FCCPA,
Florida Statutes, Section 559.55(3). See Schauer v. General Motors Acceptance Corp.,
819 So. 2d 809 (Fla. 4th DCA 2002).

13. At all times herein, Defendants’ conduct, with regard to the Debt
complained of below, qualifies as “communication” as defined by Florida Statutes,
Section 559.55(5).

14. At all times herein, Defendants acted themselves or through their agents,
employees, officers, members, directors, successors, assigns, principals, trustees, sureties,
subrogees, representatives, insurers, and third-party vendors.

15. All necessary conditions precedent to the filing of this action occurred or
have been waived by Defendants.

16. At all times herein, Plaintiff is the owner, regular user, and possessor of a
cellular telephone, with the assigned number 727.278.4563.

l7. At all times herein, Plaintiff is the called party and intended recipient of

each and every call alleged.

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 4 of 16 Page|D 4

FACTUAL ALLEGATIONS

18. At all times herein, Defendants never possessed Plaintiffs prior express
consent to contact Plaintiff’s cellular telephone in its attempts to collect the Debt.

19. Defendants OFC and OLS employed the services of Defendant ASI as a
third-party vendor in order to use ASI’s automatic telephone dialing system and/or pre-
recorded or artificial voice to place collection calls to Plaintiff in an attempt to collect the
Debt. Therefore, all of the collection efforts detailed below were undertaken by
Defendants collectively, and/or any one Defendant acting on its behalf or on the behalf of
another co~Defendarit.

20. On or about January l7, 2012, Defendants called Plaintiff’s cellular
telephone in an attempt to collect the Debt, using an automatic dialing system, from
telephone number 800.850.4622.

21. During the immediately-aforementioned telephone call, Defendants’
employee or representative, “Jason” (Employee ID# 17529), told Plaintiff that he needed
to either borrow money or liquidate his 401k to pay off the Debt. Plaintiff advised
Defendants of Undersigned Counsel’s representation regarding the Debt, provided
Undersigned Counsel’s contact infonnation, and asked that all further calls be directed to
Undersigned Counsel’s office.

22. Insofar as Defendants may argue they possessed express consent to auto-
dial Plaintist cellular telephone, such consent was revoked as knowledge of attorney
representation proscribes all communications directly with Plaintiff in an attempt to
collect the debt. See Florida Statutes, Section 559.72(18).

23. On or about January 21, 2012, despite having received actual knowledge

of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 5 of 16 Page|D 5

called Plaintiff’s cellular telephone a total of three (3) times throughout the day, in its
attempts to collect the Debt, using an automatic telephone dialing system, from telephone
number 800.850.4622.

24. On or about January 23, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiffs cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system, from telephone number 800.850.4622.

25. On or about January 25, 2012, at approximately 9:38 am ET, despite
having received actual knowledge of Undersigned Counsel’s representation of Plaintiff
with regard to the debt, Defendants called Plaintifi’s cellular telephone in an attempt to
collect the Debt, using an automatic telephone dialing system, from telephone number
800.850.4622.

26. During the immediately-aforementioned telephone call, Defendants
admitted that it knew the number it was calling was Plaintiff's cellular telephone and that
Defendants were using an automatic telephone dialing system. Plaintiff again requested
that all such calls cease to his cellular telephone and directed Defendants to speak directly
to his attorney.

27. On or about January 25, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called PlaintiH"s cellular telephone two (2) additional times that day in its attempts to
collect the Debt, aher the above-mentioned call, using an automatic telephone dialing
system, from telephone number 800.850.4622.

28. On or about January 31, 2012, despite having received actual knowledge

of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 6 of 16 Page|D 6

called Plaintiffs cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system,

29. During the immediately-aforementioned telephone call, Defendants’
representative or employee, “Charles,” again acknowledged he knew the number called
was Plaintiff’s cellular telephone and that Defendants were using an automatic telephone
dialing system, Plaintiff again requested such calls cease to his cellular telephone and
Defendant advised Plaintiff that his number would be taken off the list.

30. On or about February 7, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff`s cellular telephone in its attempts to collect the Debt, using an automatic
telephone dialing system, from telephone number 319.833.8531 or 800.850.4622. During
said call, Defendants led a pre-recorded electronic voicemail message on Plaintifl’s
cellular telephone.

31. On or about Februai'y 8, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff’s cellular telephone twice in its attempts to collect the Debt, using an
automatic telephone dialing system from telephone number 319.833.8531. During both
calls, Defendants left a pre-recorded electronic voicemail message on Plaintiffs cellular
telephone.

32. On or about February 8, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiffs cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system from telephone number 800.850.4622.

33. On or about February 9, 2012, despite having received actual knowledge

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 7 of 16 Page|D 7

of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiffs cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system, from telephone number 319.833.8531. During said call,
Defendants len a pre-recorded electronic voicemail message on Plaintifi’s cellular
telephone.

34. On or about February lO, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff’s cellular telephone twice in its attempts to collect the Debt, using an
automatic telephone dialing system, from telephone number 319.833.8531.

35. On or about February l l, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff's cellular telephone twice in its attempts to collect the Debt, using an
automatic telephone dialing system, from telephone numbers 319.833.8531 and
800.850.4622. During one of said telephone calls, Defendants left a pre-recorded
electronic voicemail message on Plaintist cellular telephone,

36. On or about February 12, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiffs cellular telephone three times, in its attempts to collect the Debt, using
an automatic telephone dialing system, from telephone number 319.833.8531. During one
of said telephone calls, Defendants left a pre-recorded electronic voicemail message on
Plaintiff' s cellular telephone.

37. On or about February 13, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants

called Plaintiff’s cellular telephone three times, in its attempts to collect the Debt, using

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 8 of 16 Page|D 8

an automatic telephone dialing system, from telephone number 319.833.8531.

38. On or about February 14, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff’s cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system, from telephone number 800.850.4622.

39. On or about February 15, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff’s cellular telephone twice in its attempts to collect the Debt, using an
automatic telephone dialing system, from telephone numbers 319.833.8531 and
800.850.4622.

40. On or about February 16, 2012, at approximately 6:35 pm ET, despite
having received actual knowledge of Undersigned Counsel’s representation of Plaintiff
with regard to the debt, Defendants called Plaintiff’s cellular telephone in an attempt to
collect the Debt, using an automatic telephone dialing system, from telephone number
800.850.4622.

41. On or about February l7, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff’ s cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system, from telephone number 319.833.8531.

42. On or about February 20, 2012, Undersigned Counsel faxed an
“Authorization to Release Information,” (hereinafter, “Release”) signed by Plaintiff, to
Defendants’ predecessor in interest, GMAC. 'I`he language from the fax to Defendants’
predecessor in interest, GMAC states: “Request is hereby made for the initiation of a

short sale approval for the above referenced property. Please direct all communication to

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 9 of 16 Page|D 9

this office” (emphasis added). Please see attached a true and correct copy of the Fax of
representation, Confinnation of Receipt, and the Release labeled, respectively, as
Exhibits “Al-A3.”

43. On or about February 20, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiffs cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system, from telephone number 800.850.4622.

44. On or about February 21 , 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff s cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system, from telephone number 800.850.4622.

45. On or about February 22, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff’s cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system, from telephone number 800.850.4622.

46. On or about February 23, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintift`s cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system, from telephone number 800.850.4622.

47. On or about February 23, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff’s cellular telephone in an attempt to collect the Debt, usingan automatic
telephone dialing system, from telephone number 214.874.2500.

48. On or about February 24, 2012, despite having received actual knowledge

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 10 of 16 Page|D 10

of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff’s cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system, from telephone number 214.874.2500.

49. On or about February 26, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff’s cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system, from telephone number 319.833.8531, 800.850.4622, or
214.874.2500.

50. On or about February 27, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff’s cellular telephone in an attempt to collect the Debt, using an automatic
telephone dialing system, from telephone number 214.874.2500.

51. On or about February 29, 2012, despite having received actual knowledge
of Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
sent a representative, specifically a “Loan Counselor,” to Plaintiff’s house in an attempt
to collect the Debt. Said representative leh a notice on Plaintist door stating Defendants
had “an important matter [they] would like to discuss with” Plaintiff. Although said
notice states it is not an attempt to collect a Debt, the notice requests that Plaintiff contact
Defendants at telephone number 800.850.4622, which is Defendants’ debt collection
center. See attached a true and correct copy of said notice labeled as Exhibit “B.”

52. On or about March 1, 2012, despite having received actual knowledge of
Undersigned Counsel’s representation of Plaintiff with regard to the debt, Defendants
called Plaintiff’s cellular telephone in an attempt to collect the Debt, using an automatic

telephone dialing system, from telephone number 319.833.8531, 800.850.4622, or

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 11 of 16 Page|D 11

214.874.2500.

53. Plaintiff has retained Leavengood, Dauval & Boyle, P.A. for the purpose
of pursuing this matter against Defendants and is obligated to pay his attorneys a
reasonable fee for their services.

54. Florida Statutes, Section 559.77 provides for the award of up to $l,000.00
statutory damages per independent violation and an award of attomeys’ fees and costs to
Plaintiff should Plaintiff prevail in this matter.

55. United States Code, Title 47, Section 227(b)(3) provides for the award of
$500.00 or actual damages, whichever is greater, for each telephone call made using any
automatic telephone dialing system or an artificial or pre-recorded voice to Plaintiff" s
cellular telephone in violation of the TCPA or the regulations proscribed thereunder.

56. Additionally, the TCPA, Section 227(b)(3) allows the trial court to
increase the damages up to three times, or $l,500.00, for each telephone call made using
any automatic telephone dialing system or an artificial or prerecorded voice to Plaintiff’s
cellular phone in willful or knowing violation of the TCPA or the regulations proscribed
thereunder.

57. Based upon the aforementioned allegations, Plaintiff believes that
Defendants telephone calls made to PlaintiH’s cellular telephone using an automatic
dialing system or an artificial or pre-recorded voice were made in willful and knowing
violation of the TCPA,

58. Plaintiff has not been able, due to both professional and personal
commitments, as well as the continued and increasing stress associated with the
continued barrage of Debt collection calls, to record the specifics (as done above) on each

and every call Defendants made to Plaintiff. Plaintiff asserts, however, that the above-

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 12 of 16 Page|D 12

referenced calls are but a sub-set of the calls made in violation of the FCCPA and TCPA,
Fuither, Defendants are in the best position to determine and ascertain the number and
methodology of calls made to Plaintiff.

59. As a direct result of Defendants’ actions, Plaintiff has suffered severe
stress, anxiety, inconvenience, frustration, annoyance, fear, confusion and loss of sleep,
believing that hiring an attorney for representation with regard to the debt was wholly
ineffective and that the frequent, repeated debt collection attempts would simply have to
be endured.

60. As of the date of this complaint, Defendants have not initiated a law suit in
an effort to collect the Debt. Likewise, no final judgment regarding the Debt has been
obtained by, or transferred to, Defendants.

COUNT ONE:
UNFAIR DEBT COLLECTION PRACTICE -
VIOLATION OF FLORIDA STATUTE § 559.72(7)

Plaintiff re-alleges paragraphs one (l) through sixty (60) as if fully restated herein
and further states as follows:

6l. Defendants are each subject to, and have violated provisions of, Florida
Statutes, Section 559.72(7) by collecting consumer Debt from Plaintiff through means
which can reasonably be expected to abuse or harass Plaintiff.

62. Specifically, despite having actual knowledge of Undersigned Counsel’s
representation of Plaintiff, Defendants continued to repeatedly auto-dial Plaintiff’s
cellular telephone in an attempt to collect the Debt.

63. Additionally, despite having actual knowledge of Undersigned Counsel’s
representation of Plaintiff, Defendants sent a representative to Plaintiff’s house in an

attempt to collect the Debt. See Exhibit “B.”

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 13 of 16 Page|D 13

64. Defendants’ willful and flagrant violation of, inter alia, the Florida
Consumer Colleetions Practices Act as a means to collect a Debt, constitutes unlawful
conduct and harassment as is contemplated under Florida Statutes, Section 559.72(7).

65. As a direct and proximate result of Defendants’ actions, Plaintiff has
sustained damages as defined by Florida Statutes, Section 559.77.

WHEREFORE, Plaintiff requests this Court enter a judgment against each
Defendant for $l,000.00 statutory damages per independent violation, costs, attomeys’
fees and such other equitable relief this Court deems appropriate.

COUNT TWO - COUNT THlRTY-SIX:
UNFAIR DEBT COLLECTION PRACTICE -

VIOLATION OF FLORIDA STATUTE § 559.72(18)
Plaintiff re-alleges paragraphs one (l) through sixty (60) as if fully restated herein

and further states as follows:

66. Defendants are each subject to, and have violated provisions of, Florida
Statutes, Section 559.72(18) by intentionally and repeatedly communicating with
Plaintiff after receiving actual notice that Plaintiff was represented by counsel with regard
to the Debt.

67. Specifically, despite having actual knowledge of Undersigned Counsel’s
representation of Plaintiff, Defendants continued to repeatedly auto-dial Plaintiff’s
cellular telephone and sent a representative to Plaintiff’s house in their attempts to collect
the Debt.

68. Additionally, Defendants’ placed at least thirty-five (35) individual and
separate calls to Plaintiff’s cellular telephone,

69. As a direct and proximate result of Defendants’ actions, Plaintiff has

sustained damages as defined by Florida Statutes, Section 559.77.

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 14 of 16 Page|D 14

WHEREFORE, Plaintiff requests this Court enter a judgment against each
Defendant for $1,000.00 statutory damages per independent violation, actual damages,
costs, attomeys’ fees and such other equitable relief this Court deems appropriate

COUNT THIRY-SEVEN:
TELEPHONE COMMUNICATIONS PROTECTION ACT-

VIOLATION OF 47 U.S.C. 227(b)(l )(A)
Plaintiff re-alleges paragraphs one (l) through sixty (60) as if fully restated herein

and further states as follows:

70. Defendants are each subject to, and have violated the provisions of, 47
U.S.C., Section 227 (b)(l)(A) by using an automatic telephone dialing system or an
artificial or pre-recorded voice to call a telephone number assigned to a cellular telephone
service without Plaintiff’s prior express consent or alter such consent was revoked.

7l. Specifically, Defendants placed al least thirty-five (35) telephone calls to
Plaintiff’s cellular telephone without Plaintiff’s prior express consent and after repeated
requests to cease said telephone calls by Plaintiff using an automatic telephone dialing
system.

72. The phone calls made by Defendants complained of herein are the result
of a repeated willful and knowing violation of the TCPA,

73. As a direct and proximate result of Defendants’ conduct, Plaintiff has
suffered:

a. The periodic loss of his cellular phone service;

b. Lost material costs associated with the use of peak time cellular
phone minutes allotted under his cellular phone service contract.

c. The expenditure of costs and attomey’s fees associated with the

prosecution of this matter, along with other damages which have been lost;

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 15 of 16 Page|D 15

d. Stress, anxiety, loss of sleep, and deterioration of relationships,
both personal and professional, as a result of the repeated willful and knowing
calls placed in violation of the TCPA; and
e. Statutory damages
WHEREFORE, Plaintiff requests this Court enter a judgment against Defendants
for $500.00 statutory damages per violation of the TCPA, treble statutory damages per
knowing and willful violation of the TCPA, actual damages, costs, interest, including but
limited to those awardable pursuant to the TCPA, and such other equitable relief this
Court deems appropriate.
SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE

74. Plaintiffs hereby give notice to Defendant and demands that Defendant
and its affiliates safeguard all relevant evidence_paper or electronic documents or data-
pertaining to this potential litigation as required by law.

DEMAND FOR JURY TRIAL

75. Plaintiffs hereby demand a trial byjury on all issues triable by right.

Respectfully Submitt d,
LEA LAW

 

cl lan li"l.eavengoil il,Esq., FBN 10167
[X] Aaron M. Swi , Esq. FBN 93088
3900 First Street North, Suite 100

St. Petersburg, FL 33703

Phone: (727) 327-3328

Fax: (727) 327-3305
ileavengood@leavenlaw.com
aswift@leavenlaw.com

Attorneysfor Plainti]j”

Case 8:14-Cv-00110-EAK-TBI\/| Document 1 Filed 01/16/14 Page 16 of 16 Page|D 16

VERIFICATION OF COMPLAINT AND CERTIFICATION
STATE OF FLORIDA )
)
COUNTY OF P]NELLAS )

Plaintifle-IOMAS COPE, having first been duly sworn and upon oath, deposes and says as
follows:

l. I am a Plaintiffin this civil proceeding

2. I have read the above-entitled civil Complaint prepared by my attorneys and 1 believe
that all of the facts contained in it are true, to the best of my knowledge, information and
belief formed after reasonable inquiry.

3. I believe that this civil Complaint is well grounded in fact and warranted by existing law
'_ or by a good faith argument for the extension, modification, or reversal of existing law.
4._ l believe that this civil Complaint is not interposed for any improper purpose, such as to

f harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create a
~4 needless increase in the cost of litigation to any Defendant(s), named in the Complaint.
52:1 l have filed this civil Complaint in good faith and solely for the purposes set forth in it.
§§ Each and every exhibit which has been attached to this Complaint, if any, is a.true and
- correct copy of the original.
7. Except for clearly indicated redactions made by my attorneys where appropriate, I have

not altered, changed, modified, or fabricated any exhibits, except that some of the

attached exhibits, if any, may contain mw notations.

 

 

 

 

_`\
THOMAS COPE
Subscribed and sworn to before me 2 - .____ __ /
this \3 day or moved 2013. ///!Z¢’"'¢'C- €/`¢16 ;s// '
rubric / ’
My commission Expir¢s: roofofi.o.:@ er r~)@\c‘;\\_¢` tmi-gum

  

§‘.‘;-`i"'"""~,,, iech umva

§"P s notary mile - state oi maria
" °5 ny comm. swim .iui 11. 2016

2

9~ .
"'-!,7. ,Xg.€~i commission a se acme

' m\

